




NOS. &nbsp;07-07-0215-CR

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;07-07-0216-CR

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;07-07-0217-CR	



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JULY 10, 2008

______________________________



LONNIE R. BLACK, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 364
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NOS. 2007-415379, 2007-415380, 2007-415381;



 HONORABLE BRADLEY S. UNDERWOOD, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.





MEMORANDUM OPINION





Appellant, Lonnie R. Black, pleaded guilty, without benefit of a plea bargain, to three separate indictments, each alleging commission of the offense of robbery. &nbsp;Subsequently, appellant was sentenced to life imprisonment in the Texas Department of Criminal Justice-Institutional Division. &nbsp;All sentences are to be served concurrently. &nbsp;We affirm.

Appellant’s attorney has filed an 
Anders
 brief and a motion to withdraw. &nbsp;
Anders v. California
, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 498 (1967). &nbsp;In support of his motion to withdraw, counsel certifies that he has diligently reviewed the record, and in his opinion, the record reflects no reversible error upon which an appeal can be predicated. &nbsp;
Id
. at 744-45. &nbsp;In compliance with 
High v. State
, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial court’s judgment. &nbsp;Additionally, counsel has certified that he has provided appellant a copy of the 
Anders
 brief and motion to withdraw and appropriately advised appellant of his right to file a 
pro se
 response in this matter. &nbsp;
Stafford v. State
, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991). &nbsp;The court has also advised appellant of his right to file a 
pro se
 response. &nbsp;Although, appellant requested and was granted an extension of time to file a 
pro se
 response, appellant has not filed a response.

By his 
Anders
 brief, counsel raises grounds that could possibly support an appeal, but concludes the appeal is frivolous. &nbsp;We have reviewed these grounds and made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal. &nbsp;
See
 
Penson v. Ohio
, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); 
Bledsoe v. State
, 178 S.W.3d 824 (Tex.Crim.App. 2005). &nbsp;We have found no such arguable grounds and agree with counsel that the appeal is frivolous.



Accordingly, counsel’s motion to withdraw is hereby granted and the trial court’s judgment is affirmed.
(footnote: 1)






Mackey K. Hancock

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice









Do not publish.

FOOTNOTES
1:Counsel shall, within five days after the opinion is handed down, send his client a copy of the opinion and judgment, along with notification of the defendant’s right to file a 
pro se
 petition for discretionary review. &nbsp;
See
 
Tex. R. App. P.
 48.4.




